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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

 

UNITED STATES OF AMERICA, — | CR 23-15-M-DLC
Plaintiff, PLEA AGREEMENT
VS.
KEVIN PATRICK SMITH,

Defendant.

 

 

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United
States of America, represented by Ryan G. Weldon, Assistant United States

Attorney for the District of Montana, and the defendant, Kevin Patrick Smith, and

the defendant’s attorney, Andrew J. Nelson, have agreed upon the following:

     

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1. Scope: This plea agreement is between the United States Attorney’s
Office for the District of Montana and the defendant. It does not bind any other
federal, state, or local prosecuting, administrative, or regulatory authority, or the
United States Probation Office.

2. Charges: The defendant agrees to plead guilty to count | of the
indictment, which charges Threats to Murder a United States Senator, in violation
of 18 U.S.C. § 115(a)(1)(B), (b)(4). Count 1 carries a maximum term of
imprisonment of ten years, a $250,000 fine, up to three years supervised release,
and a $100 special assessment.

The defendant also agrees to be responsible for complete restitution
regardless of whether a count or counts of the indictment have been dismissed as
part of this plea agreement. 18 U.S.C. § 3663(a)(3).

At the time of sentencing, if the Court accepts this plea agreement, the
United States will move to dismiss count 2 of the indictment.

3. Nature of the Agreement: The parties agree that this plea agreement
will be governed by:

e Rule 11(c)(1)(A) and (B), Federal Rules of Criminal Procedure. The
defendant acknowledges that the agreement will be fulfilled provided the

United States: a) moves to dismiss, and the Court agrees to dismiss, count 2

of the indictment; and b) makes the recommendations provided below. The

    
 

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defendant understands that if the agreement is accepted by the Court, and

count 2 of the indictment is dismissed, there will not be an automatic right to

withdraw the plea, even if the Court does not accept or follow the
recommendations made by the United States.

4. Admission of Guilt: The defendant will plead guilty because the
defendant is guilty of the charge contained in count 1 of the indictment. In
pleading guilty, the defendant acknowledges that:

First, the defendant made a threat to murder;

Second, the threat was made against a United States official;

Third, the defendant made the threat with the intent to impede,
intimidate, interfere with, or retaliate against that official; and,

Fourth, the defendant communicated the threat while the United
States official was engaged in or on account of the performance of his
duties.
5. Waiver of Rights by Plea:
(a) The government has a right to use against the defendant, in a
prosecution for perjury or false statement, any statement given under oath during
the plea colloquy.

(b) The defendant has the right to plead not guilty or to persist in a

plea of not guilty.

        

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(c) The defendant has the right to a jury trial unless, by written
waiver, the defendant consents to a non-jury trial. The United States must also
consent and the Court must approve a non-jury trial.

(d) The defendant has the right to be represented by counsel and, if
necessary, have the Court appoint counsel at trial and at every other stage of these
proceedings.

(e) Ifthe trial is a jury trial, the jury would be composed of 12
laypersons selected at random. The defendant and the defendant’s attorney would
have a say in who the jurors would be by removing prospective jurors for cause
where actual bias or other disqualification is shown, or without cause by exercising
peremptory challenges. The jury would have to agree unanimously before it could
return a verdict of either guilty or not guilty. The jury would be instructed that the
defendant is presumed innocent, and that it could not convict unless, after hearing
all the evidence, it was persuaded of the defendant’s guilt beyond a reasonable
doubt.

(f) Ifthe trial is held by the judge without a jury, the judge would
find the facts and determine, after hearing all of the evidence, whether or not the
judge was persuaded of the defendant’s guilt beyond a reasonable doubt.

(g) Ata trial, whether by a jury or a judge, the United States would

be required to present its witnesses and other evidence against the defendant. The

 
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defendant would be able to confront those government witnesses and the
defendant’s attorney would be able to cross-examine them. In turn, the defendant
could present witnesses and other evidence. Ifthe witnesses for the defendant
would not appear voluntarily, their appearance could be mandated through the
subpoena power of the Court.

(h)  Atatrial, there is a privilege against self-incrimination so that
the defendant could decline to testify and no inference of guilt could be drawn
from the refusal to testify. Or the defendant could exercise the choice to testify.

(i) Ifconvicted, and within 14 days of the entry of the Judgment
and Commitment, the defendant would have the right to appeal the conviction to
the Ninth Circuit Court of Appeals for review to determine if any errors were made
that would entitle the defendant to reversal of the conviction.

(j) | The defendant has a right to have the district court conduct the
change of plea hearing required by Rule 11, Federal Rules of Criminal Procedure.
By execution of this agreement, the defendant waives that right and agrees to hold
that hearing before, and allow the Rule 11 colloquy to be conducted by, the U.S.
Magistrate Judge, if necessary.

(k) Ifconvicted in this matter, a defendant who is not a citizen of
the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

 

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The defendant understands that by pleading guilty pursuant to this
agreement, the defendant is waiving all of the rights set forth in this paragraph.
The defendant’s attorney has explained those rights and the consequences of
waiving those rights.

6. Recommendations: The United States will recommend the
defendant’s offense level be decreased by two levels for acceptance of
responsibility, pursuant to USSG §3E1.1(a), unless the defendant is found to have
obstructed justice prior to sentencing, pursuant to USSG §3C1.1, or acted in any
way inconsistent with acceptance of responsibility. The United States will move
for an additional one-level reduction, pursuant to USSG §3E1.1(b), if appropriate
under the Guidelines. The parties reserve the right to make any other arguments at
the time of sentencing. The defendant understands that the Court is not bound by
this recommendation.

7. Sentencing Guidelines: Although advisory, the parties agree that the
U.S. Sentencing Guidelines must be applied, and a calculation determined, as part
of the protocol of sentencing to determine what sentence will be reasonable.

8. Waiver of Appeal of the Sentence — General: The defendant
understands that the law provides a right to appeal and collaterally attack the
sentence imposed in this case. 18 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255.
Based on the concessions made by the United States, the defendant knowingly

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waives any right to appeal or collaterally attack any aspect of the sentence,
including conditions of probation or supervised release. This waiver includes
challenges to the constitutionality of any statute of conviction and arguments that
the admitted conduct does not fall within any statute of conviction. This waiver
does not prohibit the right to pursue a collateral challenge alleging ineffective
assistance of counsel.

9. Disclosure of Financial Information: The defendant authorizes the
U.S. Probation Office to release to the Financial Litigation Unit of the U.S.
Attorney’s Office all documents and financial information provided by the
defendant to the U.S. Probation Office and any information obtained by the U.S.
Probation Office about the defendant through its investigation. The defendant
further agrees to fully complete a financial statement in the form prescribed by the
U.S. Attorney’s Office, provide financial documents as requested, and submit to a
debtor’s exam if deemed appropriate by the U.S. Attorney’s Office, in order to
evaluate the defendant’s ability to satisfy any financial obligation imposed by the
Court. The defendant consents to being immediately placed on the Treasury Offset
Program to help meet the defendant’s obligation to pay restitution and/or a fine.

10. Voluntary Plea: The defendant and the defendant’s attorney

acknowledge that no threats, promises, or representations have been made to

 

 

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induce the defendant to plead guilty, and that this agreement is freely and
voluntarily endorsed by the parties.

11. Detention/Release After Plea: Pursuant to 18 U.S.C. § 3143(a)(2),
the defendant acknowledges that the defendant will be detained upon conviction
unless (A)(i) the Court finds there is a substantial likelihood that a motion for
acquittal or new trial will be granted or (ii) this agreement provides that the United
States will recommend that no sentence of imprisonment be imposed and (B) the
Court finds, by clear and convincing evidence, that the defendant is not likely to
flee or pose a danger to any other person or the community. Then, if exceptional
circumstances exist, the defendant may be released upon conditions.

12. Breach: If the defendant breaches this plea agreement, at any time, in
any way, including but not limited to appealing or collaterally attacking the
conviction or sentence, the United States may prosecute the defendant for any
counts dismissed or not charged pursuant to this plea agreement. Additionally, the
United States may use any factual admissions made by the defendant pursuant to
this plea agreement in any such prosecution.

13. Non-Prosecution: As part of this plea agreement, and in exchange
for a guilty plea to count 1 of the indictment by the defendant, the United States

agrees to not prosecute the defendant for the possession of an unregistered silencer,

 

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in violation of 26 U.S.C. §§ 5841, 5845(a)(7), 5861(c), that was found in his
residence on February 22, 2023.

14. Entire Agreement: Any statements or representations made by the
United States, the defendant, or defense counsel prior to the full execution of this
plea agreement are superseded by this plea agreement. No promises or
representations have been made by the United States except as set forth in writing
in this plea agreement. This plea agreement constitutes the entire agreement
between the parties. Any term or condition which is not expressly stated as part of
this plea agreement is not to be considered part of the agreement.

TIMOTHY J. RACICOT
First Assistant United States Attorney
Attorney for the United States, Acting

Under Authority Conferred by
28 USC. § 7,

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Assistant U. S. wee

Date:

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KEVIN PATRICK SMITH
Defendant

 

  
  
   

ANDREW J. NELSON
Defense Counsel
Date: 7 /2(/24

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